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                   EXHIBIT C
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                        Identification Logic of Opioid Abuse using HCPCS and ICD Diagnosis Codes



    ICD           HCPCS
                                                                CODE DESCRIPTION
 CodeValues     CodeValues

304                          Opioid dependence
304.0                        Opioid type dependence
304.00                       Opioid type dependence, unspecified
304.01                       Opioid type dependence, continuous
304.02                       Opioid type dependence, episodic
304.03                       Opioid type dependence, in remission
304.7                        Combinations of opioid type drug with any other drug dependence
304.70                       Combinations of opioid type drug with any other drug dependence, unspecified
304.71                       Combinations of opioid type drug with any other drug dependence, continuous
304.72                       Combinations of opioid type drug with any other drug dependence, episodic
304.73                       Combinations of opioid type drug with any other drug dependence, in remission
305.5                        Nondependent opioid abuse
305.50                       Opioid abuse, unspecified
305.51                       Opioid abuse, continuous
305.52                       Opioid abuse, episodic
305.53                       Opioid abuse, in remission
F11                          Opioid related disorders
F11.1                        Opioid abuse
F11.10                       Opioid abuse, uncomplicated
F11.11                       Opioid abuse, in remission
F11.12                       Opioid abuse with intoxication
F11.120                      Opioid abuse with intoxication, uncomplicated
F11.121                      Opioid abuse with intoxication delirium
F11.122                      Opioid abuse with intoxication with perceptual disturbance
F11.129                      Opioid abuse with intoxication, unspecified
F11.14                       Opioid abuse with opioid‐induced mood disorder
F11.15                       Opioid abuse with opioid‐induced psychotic disorder
F11.150                      Opioid abuse with opioid‐induced psychotic disorder with delusions
F11.151                      Opioid abuse with opioid‐induced psychotic disorder with hallucinations
F11.159                      Opioid abuse with opioid‐induced psychotic disorder, unspecified
F11.18                       Opioid abuse with other opioid‐induced disorder
F11.181                      Opioid abuse with opioid‐induced sexual dysfunction
F11.182                      Opioid abuse with opioid‐induced sleep disorder
F11.188                      Opioid abuse with other opioid‐induced disorder
F11.19                       Opioid abuse with unspecified opioid‐induced disorder
F11.2                        Opioid dependence
F11.20                       Opioid dependence, uncomplicated
F11.21                       Opioid dependence, in remission
F11.22                       Opioid dependence with intoxication
F11.220                      Opioid dependence with intoxication, uncomplicated
F11.221                      Opioid dependence with intoxication delirium
F11.222                      Opioid dependence with intoxication with perceptual disturbance


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F11.229                    Opioid dependence with intoxication, unspecified
F11.23                     Opioid dependence with withdrawal
F11.24                     Opioid dependence with opioid‐induced mood disorder
F11.25                     Opioid dependence with opioid‐induced psychotic disorder
F11.250                    Opioid dependence with opioid‐induced psychotic disorder with delusions
F11.251                    Opioid dependence with opioid‐induced psychotic disorder with hallucinations
F11.259                    Opioid dependence with opioid‐induced psychotic disorder, unspecified
F11.28                     Opioid dependence with other opioid‐induced disorder
F11.281                    Opioid dependence with opioid‐induced sexual dysfunction
F11.282                    Opioid dependence with opioid‐induced sleep disorder
F11.288                    Opioid dependence with other opioid‐induced disorder
F11.29                     Opioid dependence with unspecified opioid‐induced disorder
T40.0X1                    POISONING BY OPIUM, ACCIDENTAL (UNINTENTIONAL)
T40.0X1A                   POISONING BY OPIUM, ACCIDENTAL (UNINTENTIONAL), INIT ENCNTR
T40.0X1D                   POISONING BY OPIUM, ACCIDENTAL (UNINTENTIONAL), SUBS ENCNTR
T40.0X1S                   POISONING BY OPIUM, ACCIDENTAL (UNINTENTIONAL), SEQUELA
T40.0X2                    POISONING BY OPIUM, INTENTIONAL SELF‐HARM
T40.0X2A                   POISONING BY OPIUM, INTENTIONAL SELF‐HARM, INITIAL ENCOUNTER
T40.0X2D                   POISONING BY OPIUM, INTENTIONAL SELF‐HARM, SUBS ENCNTR
T40.0X2S                   POISONING BY OPIUM, INTENTIONAL SELF‐HARM, SEQUELA
T40.0X3                    POISONING BY OPIUM, ASSAULT
T40.0X3A                   POISONING BY OPIUM, ASSAULT, INITIAL ENCOUNTER
T40.0X3D                   POISONING BY OPIUM, ASSAULT, SUBSEQUENT ENCOUNTER
T40.0X3S                   POISONING BY OPIUM, ASSAULT, SEQUELA
T40.0X4                    POISONING BY OPIUM, UNDETERMINED
T40.0X4A                   POISONING BY OPIUM, UNDETERMINED, INITIAL ENCOUNTER
T40.0X4D                   POISONING BY OPIUM, UNDETERMINED, SUBSEQUENT ENCOUNTER
T40.0X4S                   POISONING BY OPIUM, UNDETERMINED, SEQUELA
T40.1                      POISONING BY AND ADVERSE EFFECT OF HEROIN
T40.1X                     POISONING BY AND ADVERSE EFFECT OF HEROIN
T40.1X1                    POISONING BY HEROIN, ACCIDENTAL (UNINTENTIONAL)
T40.1X1A                   POISONING BY HEROIN, ACCIDENTAL (UNINTENTIONAL), INIT ENCNTR
T40.1X1D                   POISONING BY HEROIN, ACCIDENTAL (UNINTENTIONAL), SUBS ENCNTR
T40.1X1S                   POISONING BY HEROIN, ACCIDENTAL (UNINTENTIONAL), SEQUELA
T40.1X2                    POISONING BY HEROIN, INTENTIONAL SELF‐HARM
T40.1X2A                   POISONING BY HEROIN, INTENTIONAL SELF‐HARM, INIT ENCNTR
T40.1X2D                   POISONING BY HEROIN, INTENTIONAL SELF‐HARM, SUBS ENCNTR
T40.1X2S                   POISONING BY HEROIN, INTENTIONAL SELF‐HARM, SEQUELA
T40.1X3                    POISONING BY HEROIN, ASSAULT
T40.1X3A                   POISONING BY HEROIN, ASSAULT, INITIAL ENCOUNTER
T40.1X3D                   POISONING BY HEROIN, ASSAULT, SUBSEQUENT ENCOUNTER
T40.1X3S                   POISONING BY HEROIN, ASSAULT, SEQUELA
T40.1X4                    POISONING BY HEROIN, UNDETERMINED
T40.1X4A                   POISONING BY HEROIN, UNDETERMINED, INITIAL ENCOUNTER
T40.1X4D                   POISONING BY HEROIN, UNDETERMINED, SUBSEQUENT ENCOUNTER
T40.1X4S                   POISONING BY HEROIN, UNDETERMINED, SEQUELA
T40.1X5                    ADVERSE EFFECT OF HEROIN

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T40.1X5A                   ADVERSE EFFECT OF HEROIN, INITIAL ENCOUNTER
T40.1X5D                   ADVERSE EFFECT OF HEROIN, SUBSEQUENT ENCOUNTER
T40.1X5S                   ADVERSE EFFECT OF HEROIN, SEQUELA
T40.1X6                    UNDERDOSING OF HEROIN
T40.1X6A                   UNDERDOSING OF HEROIN, INITIAL ENCOUNTER
T40.1X6D                   UNDERDOSING OF HEROIN, SUBSEQUENT ENCOUNTER
T40.1X6S                   UNDERDOSING OF HEROIN, SEQUELA
T40.2X1                    POISONING BY OTHER OPIOIDS, ACCIDENTAL (UNINTENTIONAL)
T40.2X1A                   POISONING BY OTH OPIOIDS, ACCIDENTAL (UNINTENTIONAL), INIT
T40.2X1D                   POISONING BY OTH OPIOIDS, ACCIDENTAL (UNINTENTIONAL), SUBS
T40.2X1S                   POISONING BY OTH OPIOIDS, ACCIDENTAL, SEQUELA
T40.2X2                    POISONING BY OTHER OPIOIDS, INTENTIONAL SELF‐HARM
T40.2X2A                   POISONING BY OTH OPIOIDS, INTENTIONAL SELF‐HARM, INIT ENCNTR
T40.2X2D                   POISONING BY OTH OPIOIDS, INTENTIONAL SELF‐HARM, SUBS ENCNTR
T40.2X2S                   POISONING BY OTHER OPIOIDS, INTENTIONAL SELF‐HARM, SEQUELA
T40.2X3                    POISONING BY OTHER OPIOIDS, ASSAULT
T40.2X3A                   POISONING BY OTHER OPIOIDS, ASSAULT, INITIAL ENCOUNTER
T40.2X3D                   POISONING BY OTHER OPIOIDS, ASSAULT, SUBSEQUENT ENCOUNTER
T40.2X3S                   POISONING BY OTHER OPIOIDS, ASSAULT, SEQUELA
T40.2X4                    POISONING BY OTHER OPIOIDS, UNDETERMINED
T40.2X4A                   POISONING BY OTHER OPIOIDS, UNDETERMINED, INITIAL ENCOUNTER
T40.2X4D                   POISONING BY OTHER OPIOIDS, UNDETERMINED, SUBS ENCNTR
T40.2X4S                   POISONING BY OTHER OPIOIDS, UNDETERMINED, SEQUELA
T40.3X1                    POISONING BY METHADONE, ACCIDENTAL (UNINTENTIONAL)
T40.3X1A                   POISONING BY METHADONE, ACCIDENTAL (UNINTENTIONAL), INIT
T40.3X1D                   POISONING BY METHADONE, ACCIDENTAL (UNINTENTIONAL), SUBS
T40.3X1S                   POISONING BY METHADONE, ACCIDENTAL (UNINTENTIONAL), SEQUELA
T40.3X2                    POISONING BY METHADONE, INTENTIONAL SELF‐HARM
T40.3X2A                   POISONING BY METHADONE, INTENTIONAL SELF‐HARM, INIT ENCNTR
T40.3X2D                   POISONING BY METHADONE, INTENTIONAL SELF‐HARM, SUBS ENCNTR
T40.3X2S                   POISONING BY METHADONE, INTENTIONAL SELF‐HARM, SEQUELA
T40.3X3                    POISONING BY METHADONE, ASSAULT
T40.3X3A                   POISONING BY METHADONE, ASSAULT, INITIAL ENCOUNTER
T40.3X3D                   POISONING BY METHADONE, ASSAULT, SUBSEQUENT ENCOUNTER
T40.3X3S                   POISONING BY METHADONE, ASSAULT, SEQUELA
T40.3X4                    POISONING BY METHADONE, UNDETERMINED
T40.3X4A                   POISONING BY METHADONE, UNDETERMINED, INITIAL ENCOUNTER
T40.3X4D                   POISONING BY METHADONE, UNDETERMINED, SUBSEQUENT ENCOUNTER
T40.3X4S                   POISONING BY METHADONE, UNDETERMINED, SEQUELA
T40.4                      SYNTHETIC NARCOTICS
T40.41                     FENTANYL OR FENTANYL ANALOGS
T40.411                    POISONING BY FENTANYL OR FENTANYL ANALOGS, ACCIDENTAL
T40.411A                   POISONING BY FENTANYL OR FENTANYL ANALOGS, ACCIDENTAL, INIT
T40.411D                   POISONING BY FENTANYL OR FENTANYL ANALOGS, ACCIDENTAL, SUBS
T40.411S                   POISONING BY FENTANYL OR FENTANYL ANALOGS, ACC, SEQUELA
T40.412                    POISONING BY FENTANYL OR FENTANYL ANALOGS, SELF‐HARM
T40.412A                   POISONING BY FENTANYL OR FENTANYL ANALOGS, SELF‐HARM, INIT

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T40.412D                   POISONING BY FENTANYL OR FENTANYL ANALOGS, SELF‐HARM, SUBS
T40.412S                   POISN BY FENTANYL OR FENTANYL ANALOGS, SELF‐HARM, SEQUELA
T40.413                    POISONING BY FENTANYL OR FENTANYL ANALOGS, ASSAULT
T40.413A                   POISONING BY FENTANYL OR FENTANYL ANALOGS, ASSAULT, INIT
T40.413D                   POISONING BY FENTANYL OR FENTANYL ANALOGS, ASSAULT, SUBS
T40.413S                   POISONING BY FENTANYL OR FENTANYL ANALOGS, ASSAULT, SEQUELA
T40.414                    POISONING BY FENTANYL OR FENTANYL ANALOGS, UNDETERMINED
T40.414A                   POISONING BY FENTANYL OR FENTANYL ANALOGS, UNDET, INIT
T40.414D                   POISONING BY FENTANYL OR FENTANYL ANALOGS, UNDET, SUBS
T40.414S                   POISONING BY FENTANYL OR FENTANYL ANALOGS, UNDET, SEQUELA
T40.415                    ADVERSE EFFECT OF FENTANYL OR FENTANYL ANALOGS
T40.415A                   ADVERSE EFFECT OF FENTANYL OR FENTANYL ANALOGS, INIT
T40.415D                   ADVERSE EFFECT OF FENTANYL OR FENTANYL ANALOGS, SUBS
T40.415S                   ADVERSE EFFECT OF FENTANYL OR FENTANYL ANALOGS, SEQUELA
T40.416                    UNDERDOSING OF FENTANYL OR FENTANYL ANALOGS
T40.416A                   UNDERDOSING OF FENTANYL OR FENTANYL ANALOGS, INIT
T40.416D                   UNDERDOSING OF FENTANYL OR FENTANYL ANALOGS, SUBS
T40.416S                   UNDERDOSING OF FENTANYL OR FENTANYL ANALOGS, SEQUELA
T40.42                     POISONING BY, ADVERSE EFFECT OF AND UNDERDOSING OF TRAMADOL
T40.421                    POISONING BY TRAMADOL, ACCIDENTAL (UNINTENTIONAL)
T40.421A                   POISONING BY TRAMADOL, ACCIDENTAL (UNINTENTIONAL), INIT
T40.421D                   POISONING BY TRAMADOL, ACCIDENTAL (UNINTENTIONAL), SUBS
T40.421S                   POISONING BY TRAMADOL, ACCIDENTAL (UNINTENTIONAL), SEQUELA
T40.422                    POISONING BY TRAMADOL, INTENTIONAL SELF‐HARM
T40.422A                   POISONING BY TRAMADOL, SELF‐HARM, INITIAL ENCOUNTER
T40.422D                   POISONING BY TRAMADOL, SELF‐HARM, SUBSEQUENT ENCOUNTER
T40.422S                   POISONING BY TRAMADOL, INTENTIONAL SELF‐HARM, SEQUELA
T40.423                    POISONING BY TRAMADOL, ASSAULT
T40.423A                   POISONING BY TRAMADOL, ASSAULT, INITIAL ENCOUNTER
T40.423D                   POISONING BY TRAMADOL, ASSAULT, SUBSEQUENT ENCOUNTER
T40.423S                   POISONING BY TRAMADOL, ASSAULT, SEQUELA
T40.424                    POISONING BY TRAMADOL, UNDETERMINED
T40.424A                   POISONING BY TRAMADOL, UNDETERMINED, INITIAL ENCOUNTER
T40.424D                   POISONING BY TRAMADOL, UNDETERMINED, SUBSEQUENT ENCOUNTER
T40.424S                   POISONING BY TRAMADOL, UNDETERMINED, SEQUELA
T40.425                    ADVERSE EFFECT OF TRAMADOL
T40.425A                   ADVERSE EFFECT OF TRAMADOL, INITIAL ENCOUNTER
T40.425D                   ADVERSE EFFECT OF TRAMADOL, SUBSEQUENT ENCOUNTER
T40.425S                   ADVERSE EFFECT OF TRAMADOL, SEQUELA
T40.426                    UNDERDOSING OF TRAMADOL
T40.426A                   UNDERDOSING OF TRAMADOL, INITIAL ENCOUNTER
T40.426D                   UNDERDOSING OF TRAMADOL, SUBSEQUENT ENCOUNTER
T40.426S                   UNDERDOSING OF TRAMADOL, SEQUELA
T40.49                     OTHER SYNTHETIC NARCOTICS
T40.491                    POISONING BY OTHER SYNTHETIC NARCOTICS, ACCIDENTAL
T40.491A                   POISONING BY OTHER SYNTHETIC NARCOTICS, ACCIDENTAL, INIT
T40.491D                   POISONING BY OTHER SYNTHETIC NARCOTICS, ACCIDENTAL, SUBS

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T40.491S                   POISONING BY OTHER SYNTHETIC NARCOTICS, ACCIDENTAL, SEQUELA
T40.492                    POISONING BY OTHER SYNTHETIC NARCOTICS, SELF‐HARM
T40.492A                   POISONING BY OTHER SYNTHETIC NARCOTICS, SELF‐HARM, INIT
T40.492D                   POISONING BY OTHER SYNTHETIC NARCOTICS, SELF‐HARM, SUBS
T40.492S                   POISONING BY OTHER SYNTHETIC NARCOTICS, SELF‐HARM, SEQUELA
T40.493                    POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT
T40.493A                   POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT, INIT
T40.493D                   POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT, SUBS
T40.493S                   POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT, SEQUELA
T40.494                    POISONING BY OTHER SYNTHETIC NARCOTICS, UNDETERMINED
T40.494A                   POISONING BY OTHER SYNTHETIC NARCOTICS, UNDETERMINED, INIT
T40.494D                   POISONING BY OTHER SYNTHETIC NARCOTICS, UNDETERMINED, SUBS
T40.494S                   POISONING BY OTHER SYNTHETIC NARCOTICS, UNDET, SEQUELA
T40.495                    ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS
T40.495A                   ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS, INIT
T40.495D                   ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS, SUBS
T40.495S                   ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS, SEQUELA
T40.496                    UNDERDOSING OF OTHER SYNTHETIC NARCOTICS
T40.496A                   UNDERDOSING OF OTHER SYNTHETIC NARCOTICS, INITIAL ENCOUNTER
T40.496D                   UNDERDOSING OF OTHER SYNTHETIC NARCOTICS, SUBS
T40.496S                   UNDERDOSING OF OTHER SYNTHETIC NARCOTICS, SEQUELA
T40.4X                     SYNTHETIC NARCOTICS
T40.4X1                    POISONING BY OTH SYNTHETIC NARCOTICS, ACCIDENTAL
T40.4X1A                   POISONING BY OTH SYNTHETIC NARCOTICS, ACCIDENTAL, INIT
T40.4X1D                   POISONING BY OTH SYNTHETIC NARCOTICS, ACCIDENTAL, SUBS
T40.4X1S                   POISONING BY OTH SYNTHETIC NARCOTICS, ACCIDENTAL, SEQUELA
T40.4X2                    POISONING BY OTH SYNTHETIC NARCOTICS, INTENTIONAL SELF‐HARM
T40.4X2A                   POISONING BY OTH SYNTHETIC NARCOTICS, SELF‐HARM, INIT
T40.4X2D                   POISONING BY OTH SYNTHETIC NARCOTICS, SELF‐HARM, SUBS
T40.4X2S                   POISONING BY OTH SYNTHETIC NARCOTICS, SELF‐HARM, SEQUELA
T40.4X3                    POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT
T40.4X3A                   POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT, INIT ENCNTR
T40.4X3D                   POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT, SUBS ENCNTR
T40.4X3S                   POISONING BY OTHER SYNTHETIC NARCOTICS, ASSAULT, SEQUELA
T40.4X4                    POISONING BY OTHER SYNTHETIC NARCOTICS, UNDETERMINED
T40.4X4A                   POISONING BY OTH SYNTHETIC NARCOTICS, UNDETERMINED, INIT
T40.4X4D                   POISONING BY OTH SYNTHETIC NARCOTICS, UNDETERMINED, SUBS
T40.4X4S                   POISONING BY OTH SYNTHETIC NARCOTICS, UNDETERMINED, SEQUELA
T40.4X5                    ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS
T40.4X5A                   ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS, INIT ENCNTR
T40.4X5D                   ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS, SUBS ENCNTR
T40.4X5S                   ADVERSE EFFECT OF OTHER SYNTHETIC NARCOTICS, SEQUELA
T40.4X6                    UNDERDOSING OF OTHER SYNTHETIC NARCOTICS
T40.4X6A                   UNDERDOSING OF OTHER SYNTHETIC NARCOTICS, INITIAL ENCOUNTER
T40.4X6D                   UNDERDOSING OF OTHER SYNTHETIC NARCOTICS, SUBS ENCNTR
T40.4X6S                   UNDERDOSING OF OTHER SYNTHETIC NARCOTICS, SEQUELA
T40.601                    POISONING BY UNSP NARCOTICS, ACCIDENTAL (UNINTENTIONAL)

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T40.601A                   POISONING BY UNSP NARCOTICS, ACCIDENTAL, INIT
T40.601D                   POISONING BY UNSP NARCOTICS, ACCIDENTAL, SUBS
T40.601S                   POISONING BY UNSP NARCOTICS, ACCIDENTAL, SEQUELA
T40.602                    POISONING BY UNSPECIFIED NARCOTICS, INTENTIONAL SELF‐HARM
T40.602A                   POISONING BY UNSP NARCOTICS, INTENTIONAL SELF‐HARM, INIT
T40.602D                   POISONING BY UNSP NARCOTICS, INTENTIONAL SELF‐HARM, SUBS
T40.602S                   POISONING BY UNSP NARCOTICS, INTENTIONAL SELF‐HARM, SEQUELA
T40.603                    POISONING BY UNSPECIFIED NARCOTICS, ASSAULT
T40.603A                   POISONING BY UNSPECIFIED NARCOTICS, ASSAULT, INIT ENCNTR
T40.603D                   POISONING BY UNSPECIFIED NARCOTICS, ASSAULT, SUBS ENCNTR
T40.603S                   POISONING BY UNSPECIFIED NARCOTICS, ASSAULT, SEQUELA
T40.604                    POISONING BY UNSPECIFIED NARCOTICS, UNDETERMINED
T40.604A                   POISONING BY UNSP NARCOTICS, UNDETERMINED, INIT ENCNTR
T40.604D                   POISONING BY UNSP NARCOTICS, UNDETERMINED, SUBS ENCNTR
T40.604S                   POISONING BY UNSPECIFIED NARCOTICS, UNDETERMINED, SEQUELA
T40.691                    POISONING BY OTHER NARCOTICS, ACCIDENTAL (UNINTENTIONAL)
T40.691A                   POISONING BY OTH NARCOTICS, ACCIDENTAL (UNINTENTIONAL), INIT
T40.691D                   POISONING BY OTH NARCOTICS, ACCIDENTAL (UNINTENTIONAL), SUBS
T40.691S                   POISONING BY OTH NARCOTICS, ACCIDENTAL, SEQUELA
T40.692                    POISONING BY OTHER NARCOTICS, INTENTIONAL SELF‐HARM
T40.692A                   POISONING BY OTH NARCOTICS, INTENTIONAL SELF‐HARM, INIT
T40.692D                   POISONING BY OTH NARCOTICS, INTENTIONAL SELF‐HARM, SUBS
T40.692S                   POISONING BY OTHER NARCOTICS, INTENTIONAL SELF‐HARM, SEQUELA
T40.693                    POISONING BY OTHER NARCOTICS, ASSAULT
T40.693A                   POISONING BY OTHER NARCOTICS, ASSAULT, INITIAL ENCOUNTER
T40.693D                   POISONING BY OTHER NARCOTICS, ASSAULT, SUBSEQUENT ENCOUNTER
T40.693S                   POISONING BY OTHER NARCOTICS, ASSAULT, SEQUELA
T40.694                    POISONING BY OTHER NARCOTICS, UNDETERMINED
T40.694A                   POISONING BY OTHER NARCOTICS, UNDETERMINED, INIT ENCNTR
T40.694D                   POISONING BY OTHER NARCOTICS, UNDETERMINED, SUBS ENCNTR
T40.694S                   POISONING BY OTHER NARCOTICS, UNDETERMINED, SEQUELA
                           Medication assisted treatment, methadone; weekly bundle including dispensing and/or
                           administration, substance use counseling, individual and group therapy, and toxicology
                           testing, if performed (provision of the services by a medicare‐enrolled opioid treatment
               G2067       program)
                           Medication assisted treatment, buprenorphine (oral); weekly bundle including dispensing
                           and/or administration, substance use counseling, individual and group therapy, and
                           toxicology testing if performed (provision of the services by a medicare‐enrolled opioid
               G2068       treatment program)
                           Medication assisted treatment, buprenorphine (injectable); weekly bundle including
                           dispensing and/or administration, substance use counseling, individual and group therapy,
                           and toxicology testing if performed (provision of the services by a medicare‐enrolled opioid
               G2069       treatment program)
                           Medication assisted treatment, buprenorphine (implant insertion); weekly bundle including
                           dispensing and/or administration, substance use counseling, individual and group therapy,
                           and toxicology testing if performed (provision of the services by a medicare‐enrolled opioid
               G2070       treatment program)

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                           Medication assisted treatment, buprenorphine (implant removal); weekly bundle including
                           dispensing and/or administration, substance use counseling, individual and group therapy,
                           and toxicology testing if performed (provision of the services by a medicare‐enrolled opioid
               G2071       treatment program)
                           Medication assisted treatment, buprenorphine (implant insertion and removal); weekly
                           bundle including dispensing and/or administration, substance use counseling, individual and
                           group therapy, and toxicology testing if performed (provision of the services by a medicare‐
               G2072       enrolled opioid treatment program)
                           Medication assisted treatment, naltrexone; weekly bundle including dispensing and/or
                           administration, substance use counseling, individual and group therapy, and toxicology
                           testing if performed (provision of the services by a medicare‐enrolled opioid treatment
               G2073       program)
                           Medication assisted treatment, weekly bundle not including the drug, including substance
                           use counseling, individual and group therapy, and toxicology testing if performed (provision
               G2074       of the services by a medicare‐enrolled opioid treatment program)
                           Medication assisted treatment, medication not otherwise specified; weekly bundle including
                           dispensing and/or administration, substance use counseling, individual and group therapy,
                           and toxicology testing, if performed (provision of the services by a medicare‐enrolled opioid
               G2075       treatment program)
                           Intake activities, including initial medical examination that is a complete, fully documented
                           physical evaluation and initial assessment by a program physician or a primary care
                           physician, or an authorized healthcare professional under the supervision of a program
                           physician qualified personnel that includes preparation of a treatment plan that includes the
                           patient's short‐term goals and the tasks the patient must perform to complete the short‐
                           term goals; the patient's requirements for education, vocational rehabilitation, and
                           employment; and the medical, psycho‐ social, economic, legal, or other supportive services
                           that a patient needs, conducted by qualified personnel (provision of the services by a
                           medicare‐enrolled opioid treatment program); list separately in addition to code for primary
               G2076       procedure
                           Periodic assessment; assessing periodically by qualified personnel to determine the most
                           appropriate combination of services and treatment (provision of the services by a medicare‐
               G2077       enrolled opioid treatment program); list separately in addition to code for primary
                           Take‐home supply of methadone; up to 7 additional day supply (provision of the services by
                           a medicare‐enrolled opioid treatment program); list separately in addition to code for
               G2078       primary procedure
                           Take‐home supply of buprenorphine (oral); up to 7 additional day supply (provision of the
                           services by a medicare‐enrolled opioid treatment program); list separately in addition to
               G2079       code for primary procedure
                           Each additional 30 minutes of counseling in a week of medication assisted treatment,
                           (provision of the services by a medicare‐enrolled opioid treatment program); list separately
               G2080       in addition to code for primary procedure
                           Office‐based treatment for opioid use disorder, including development of the treatment
                           plan, care coordination, individual therapy and group therapy and counseling; at least 70
               G2086       minutes in the first calendar month
                           Office‐based treatment for opioid use disorder, including care coordination, individual
                           therapy and group therapy and counseling; at least 60 minutes in a subsequent calendar
               G2087       month

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                           Office‐based treatment for opioid use disorder, including care coordination, individual
                           therapy and group therapy and counseling; each additional 30 minutes beyond the first 120
               G2088       minutes (list separately in addition to code for primary procedure)
                           Office‐based treatment for opioid use disorder, including care coordination, individual
                           therapy and group therapy and counseling; at least 60 minutes in a subsequent calendar
               G2087       month
                           Take home supply of nasal naxolone (provision of the services by a Medicare enrolled opioid
               G2215       treatment program)
                           Take home supply of injectable naxolone (provision of the services by a Medicare enrolled
               G2216       opioid treatment program)
               H0020       METHADONE ADMIN &OR SERVICE
               J0364       INJECTION, APOMORPHINE HYDROCHLORIDE, 1 MG
               J0570       Buprenorphine implant 74.2mg
               J0571       Buprenorphine oral 1mg
               J0572       Buprenorphine/naloxone, oral, UP TO 3MG
               J0573       Buprenorphine implant, 74.2 mg; Physician office and Outpatient
                           BUPRENORPHINE/NALOXONE, ORAL, GREATER THAN 6 MG, BUT LESS THAN OR EQUAL TO
               J0574       10 MG BUPRENORPHINE
               J0575       Buprenorphine/naloxone, oral, greater than 10 mg buprenorphine
               J0592       INJECTION, BUPRENORPHINE HYDROCHLORIDE, 0.1 MG
               J0595       Butorphanol tartrate 1 mg
               J0745       INJECTION, CODEINE PHOSPHATE, PER 30 MG
               J1170       INJECTION, HYDROMORPHONE, UP TO 4 MG
               J1230       INJECTION, METHADONE HCL, UP TO 10 MG
               J1960       levorphanol tartrate, up to 2 mg
               J2175       INJECTION, MEPERIDINE HYDROCHLORIDE, PER 100 MG
               J2180       meperidine and promethazine hcl, up to 50 mg
               J2212       Methylnaltrexone injection
               J2270       Morphine sulfate injection
               J2271       INJECTION, MORPHINE SULFATE, 100MG
               J2274       Inj morphine pf epid ithc
               J2275       INJECTION, MORPHINE SULFATE (PRESERVATIVE‐FREE STERILE SOLUTION), PER 10 MG
               J2300       INJECTION, NALBUPHINE HYDROCHLORIDE, PER 10 MG
               J2310       Injection, naloxone hydrochloride, per 1 mg
               J2315       Injection, naltrexone, depot form, 1 mg
               J2410       oxymorphone hcl, up to 1 mg
               J3010       INJECTION, FENTANYL CITRATE, 0.1 MG
               J3070       Pentazocine injection
               J3490       Buprenorphine extended‐release injection, for subcutaneous use (Sublocade)
               Q9991       buprenorphine extended‐release (sublocade), less than or equal to 100 mg
               Q9992       buprenorphine extended‐release (sublocade), greater than 100 mg
               S0012       Butorphanol tartrate, nasal spray, 25 mg
               S0092       Hydromorphone 250 mg
               S0093       Morphine 500 mg
               S0109       Methadone oral 5mg




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